Case: 1:86-cr-00572 Document #: 690 Filed: 01/31/23 Page 1 of 21 PagelD #:9566 JK

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Florence, Co, 8146-8500

 

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U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex
Florence, Colorado

 

 

5880 State Highway 67 South
P.O. Box 8500
Florence, CO 81226

December 21, 2022

Jeff Fort
Register Number 92298-024

Dear Inmate Fort,

You requested a reduction in sentence (RIS) based on being incarcerated for 32 years, being 75 years old
with high blood pressure and other medical conditions and concerns regarding COVID-19. After careful
consideration, your request is denied.

Title 18 of the United States Code, section 3582(c)(1)(A), allows a sentencing court, on motion of the
Director of the BOP, to reduce a term of imprisonment for extraordinary or compelling reasons. BOP
Program Statement 5050.50, Compassionate Release/Reduction in Sentence: Procedures for
Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g), provides guidance on the types of
circumstances which present extraordinary or compelling reasons, such as the inmate's terminal medical
condition; debilitated medical condition; status as a "new law" elderly inmate, an elderly inmate with
medical conditions, or an "other elderly inmate"; the death or incapacitation of the family member
caregiver of the inmate's child; or the incapacitation of the inmate's spouse or registered partner. Your
request has been evaluated consistent with this general guidance.

Medical staff have completed a Reduction in Sentence Eligibility Review and have determined you do
qualify for a RIS based upon being an elderly inmate with a medical condition. Although you do meet the
minimum criteria in Section 4.b. for Elderly Inmates with Medical Conditions, other factors are considered
and evaluated under Program Statement 5050.50, which include the nature and circumstances of your
offense, your criminal history, institutional adjustment, disciplinary infractions, personal history derived
from your Pre-Sentence Report, release plans and whether your release would minimize the severity of
your offense. Your convictions for Interstate Transport of Aid in Racketeering Enterprises, Transfer of
Explosives and Unlawful Possession of a Weapon, your leadership role in the El Rukin criminal
organization, and your detainer with the state of Illinois for a 75 year consecutive sentence for Murder
were considered in this decision. Additionally, you have not provided a release plan, or how you will
support yourself upon release. Accordingly, your RIS request is denied at this time.

If you are not satisfied with this response to your request, you may commence an appeal of this decision
via the administrative remedy process by submitting your concerns on the appropriate form (BP-9) within
20 days of the receipt of this response.

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Case: 1:86-cr-00572 Document #: 690 Filed: 01/31/23 Page 14 of 21 PagelD #:9579

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Plan is for inmate: FORT, JEFF 922998-024

Individualized Needs Plan - Program Review

Dept. of Justice / Federal Bureau of Prisons

(Inmate Copy)

SEQUENCE: 00128973
Team Date: 12-18-2020

 

Facility: FLM FLORENCE ADMAX USP
Name: FORT, JEFF

Proj. Rel. Date:
Proj. Rel. Mthd:

10-14-2044
MAND REL

 

 

 

 

 

 

 

 

 

 

 

 

Register No.: 92298-024 DNA Status: FLM02347 / 03-09-2011
Age: 73
Date of Birth: 02-20-1947

Detainers
[Detaining Agency Remarks

ILLINOIS 75 YEARS CONSECUTIVE SENTENCE - MURDER (815)727-6141
Pending Charges

DETAINER NO..: 001

DATE LODGED..: 12-07-1988

JURISDICTION.: STATE OF ILLINOIS

AUTHORITY....: ILLINOIS DEPARTMENT OF CORRECTIONS (JOILET)

CHARGES....... 75 YEARS CONSECUTIVE SENTENCE - MURDER

Current Work Assignments
(Facl Assignment Description Start
FLM UNASSGN UNASSIGNED 12-04-2020

Current Education Information
[Fac Assignment Description Start

FLM ESL HAS ENGLISH PROFICIENT 07-16-1991

FLM GED DN DROPPED GED NON-PROMOTABLE 09-23-2008

FLM GED UNSAT GED PROGRESS UNSATISFACTORY 09-23-2008
Education Courses

SubFacl Action Description Start Stop
FLM CHANGING BODY COMP W/DIET/EXER 10-12-2020 CURRENT
FLM ACE SCIENCE OF NATURAL HEALING 11-03-2020 CURRENT
FLM ACE UNDERSTANDING INVESTMENTS 11-09-2020 CURRENT
FLM c STRATEGIC THINKING SKILLS 08-17-2020 41-07-2020
FLM c EFFECTIVE COMMUNICATION SKILLS 08-11-2020 11-01-2020
FLM c HOW THE WORLD LEARNS 07-20-2020 10-10-2020
FLM c THE PASSIONS :PHILOSOPHY 05-25-2020 08-15-2020
FLM c THE SPIRITUAL BRAIN 05-19-2020 08-08-2020
FLM c THE ART OF TEACHING 04-27-2020 07-18-2020
FLM c GEOGRAPHY ACE CLASS 03-09-2020 05-23-2020
FLM c THERMODYNAMICS ACE CLASS 02-25-2020 05-16-2020
FLM c ENGLISH GRAMMAR BOOT CAMP ACE 02-03-2020 04-25-2020
FLM c ZOOLOGY ACE CLASS 12-16-2019 03-07-2020
FLM c THE CELTIC WORLD ACE CLASS 42-03-2019 02-22-2020
FLM c ACE FORENSIC HISTORY 41-11-2019 02-01-2020
FLM c WEATHER ACE CLASS 09-23-2019 12-14-2019
FLM c THE WEST ACE CLASS 09-17-2019 11-30-2019
FLM c DEADLIEST CATCH SEASON 3 08-19-2019 11-09-2019
FLM ic UNDERSTANDING IMPERIAL CHINA 07-01-2019 09-21-2019
FLM c PHILOSOPHY 06-25-2019 09-14-2019
FLM c GREAT ANCIENT CIVILIZA OF ASIA 05-20-2019 08-17-2019
FLM c THE PHYSICS OF HISTORY 04-08-2019 06-29-2019
FLM c NEW YORK YANKEES FILM 02-26-2019 06-22-2019
FLM c ESPN 30/30 VOLUME 3 02-18-2019 05-18-2019
FLM c PATTON 360 01-28-2019 04-06-2019
FLM c DEADLIEST CATCH 2 42-04-2018 02-23-2019
FLM c THE SIXTIES 12-10-2018 02-16-2019
FLM c SHARK WEEK 2014 11-05-2018 01-26-2019
FLM c ESPN 30/30 VOLUME 2 PART 1 10-15-2018 12-08-2018
FLM c ESPN 30/30 VOLUME 2 PART 2 10-16-2018 42-01-2018
Sentry Data as of 12-18-2020 Individualized Needs Plan - Program Review (Inmate Copy) Page 1 of 6

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Case: 1:86-cr-00572 Document #: 690 Filed: 01/31/23 Page 15 of 21 PagelD #:9580

 

 

 

 

 

3: Pace
Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 00128973
Dept. of Justice / Federal Bureau of Prisons Team Date: 12-18-2020
eS Plan is for inmate: FORT, JEFF 92298-024

[SubFacl Action Description Start Stop
FLM c LOST CITIES 01-25-2012 03-20-2012
FLM c BRIEF WORLD HISTORY PART 2 01-05-2012 03-07-2012
FLM c FACES OF FREEDOM 11-09-2011 01-24-2012
FLM Cc BRIEF WORLD HISTORY PART 1 11-03-2011 01-04-2012
FLM Cc AMERICAN EXPERIENCE - PART 5 08-17-2011 11-08-2011
FLM CG SOLAR SYSTEM 08-11-2011 11-02-2011
FLM c AMERICA AT WAR - PART 3 06-08-2011 08-16-2011
FLM c THE HUMAN BODY 05-19-2011 08-10-2011
FLM Cc LEGENDS OF THE SILVER SCREEN 03-16-2011 06-07-2011
FLM c GREAT PRESIDENTS - PART 2 02-24-2011 05-18-2011
FLM c THE UNIVERSE - PART 2 12-22-2010 03-15-2011
FLM c GREAT PRESIDENTS - PART 1 12-02-2010 02-23-2011
FLM Cc AMERICA AT WAR - PART 2 10-13-2010 12-21-2010
FLM c MATH FROM THE VISUAL WORLD 09-09-2010 12-01-2010
FLM c 500 NATIONS 08-18-2010 10-12-2010
FLM Cc BOOKS THAT MADE HISTORY 2 07-08-2010 09-08-2010
FLM c AMERICA AT WAR - PART 1 05-26-2010 08-17-2010
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FLM Cc THE UNIVERSE - PART 1 03-03-2010 05-25-2010
FLM c PELOPONNESIAN WAR - PART 2 03-04-2010 05-05-2010
FLM c PELOPONNESIAN WAR - PART 1 12-31-2009 03-03-2010
FLM Cc BITS OF HISTORY 12-09-2009 03-02-2010
FLM c HISTORY OF SCIENCE - PART 2 10-29-2009 12-30-2009
FLM CG BATTLES OF THE ANCIENT WORLD 10-14-2009 12-08-2009
FLM ¢ HISTORY OF SCIENCE - PART 1 08-27-2009 10-28-2008
FLM c ENGINEERING AN EMPIRE 07-22-2009 10-13-2009
FLM Cc BIOLOGY & HUMAN BEHAVIOR 06-04-2009 08-26-2009
FLM Cc NOVA 04-29-2009 07-21-2009
FLM é HISTORY OF NUMBERS 03-12-2009 06-03-2009
FLM c HISTORY OF WORLD WAR II 02-18-2009 04-28-2009
FLM c HISTORY OF EUROPEAN ART PART 2 12-18-2008 03-11-2009
FLM Cc ARCHITECTURAL WONDERS 12-24-2008 02-17-2009
FLM c HISTORY OF EUROPEAN ART PART 1 09-25-2008 12-17-2008
FLM c AMERICAN EXPERIENCE PART 4 10-01-2008 12-23-2008
FLM c WAR OF 1812 & LIFE OF HITLER 07-23-2008 10-01-2008
FLM Cc SCIENCE WARS 07-03-2008 09-24-2008
FLM Ww GED PROGRAM 08-23-2006 09-23-2008
FLM c AMERICAN EXPERIENCE - PART 3 04-30-2008 07-22-2008
FLM c THE VIKINGS - PART 2 05-01-2008 07-02-2008
FLM c THE VIKINGS - PART 1 02-28-2008 04-30-2008
FLM Cc TEN DAYS THAT CHANGED AMERICA 02-20-2008 04-29-2008
FLM c FAMOUS ROMANS 12-06-2007 02-27-2008
FLM c BIOG: EXPLORERS & EARLY AMERIC 11-14-2007 02-19-2008
FLM c FAMOUS GREEKS 09-13-2007 12-05-2007
FLM c JAZZ - PART 2 09-05-2007 11-13-2007
FLM c A HISTORY OF IMPRESSIONISM 06-21-2007 09-12-2007
FLM c JAZZ - PART 1 06-27-2007 09-04-2007
FLM Cc PHYSICS IN YOUR LIFE - PART 2 04-19-2007 06-20-2007
FLM c THE AMERICAN EXPERIENCE-PART 2 04-04-2007 06-26-2007
FLM Cc PHYSICS IN YOUR LIFE - PART 1 02-15-2007 04-18-2007
MAR Ww GED VIDEO IN CELL SELF STUDY 09-10-1999 08-11-2006
MAR Cc USP PARENTING PROGRAM 01-31-2005 05-02-2005
MAR Cc ACE/CIVIL RIGHTS HIST. PT | 01-31-2005 04-11-2005
MAR c ACE/EARTH REVEALED/GEOLOGY 09-07-2004 12-03-2004
MAR c ACE/CURRENT EVENTS SPRING SEM 03-01-2002 06-03-2002
MAR Cc ACE WEST TRADITION HISTORY PT1 03-01-2002 06-03-2002
MAR c ACE MICROBIOLOGY/UNSEEN LIFE 07-09-2001 09-28-2001
Sentry Data as of 12-18-2020 Individualized Needs Plan - Program Review (Inmate Copy) Page 3 of 6

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U.S. Department of Justice
Federal Bureau of Prisons

Federal Correctional Complex Florence
@ Administrative Maximum Security Institution
O High Security Institution

O Medium Security Institution

O Minimum Security Institution

 

 

December 6, 2022

MEMORANDUM FOR JEFF FORT, REG. NO. 92298-024

FROM: A. yi omplex wwayen
/
SUBJECT: Correspondence Restrictions

Your correspondence restrictions are due for a 6-month review pursuant to 28 C.F.R.
540. It has been determined that your current correspondence restrictions are to be
amended. You are now allowed to communicate with all members of your immediate

family.

The renewed restrictions are:
e Your general correspondence will include immediate family members (Per your
PSI).
e Visiting and phone calls with immediate family members only (Per your PSI).
e Your phone calls will no longer be live-monitored by SIS.

Failure to comply with the aforementioned will result in immediate revocation of this
authorization and may result in disciplinary action. A 6-month review will be conducted
from the date of this notice pursuant to 28 C.F.R. 540.15. If you wish to appeal this
decision, you may do so under the Administrative Remedy Program.

sty

Received: December*, 2022 Cr
Jeff Fort, Reg. No. 92298-024

 

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NOTICE OF INMATE RESTRICTIONS USP- ADMINISTRATIVE MAXIMUM, FLORENCE, COLORADO
U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

irst): REGISTER NUMBER.) UNIT/QUARTERS:

BRUTE DOME EAST, First) R558 ona K04-204L.

TYPE OF NOTIFICATION:

F

O Amended . .

X 6 Month Review (BOP sanction only)

QO 120 Day Review (Special Administrative Measure only)
D All restrictions removed O Other:

TYPE OF RESTRICTION:

O Sanction for prohibited act, (report or memo attached) 28 C.F.R. § 547, Subparts A&B
Q Judicial court order (attached), 78 U.S.C. § 3582(d)

O Special Administrative Measure imposed by U.S. Attorney General, 28 C.F.R. § 507.3
X Other: General Correspondence Restriction

LENGTH OF RESTRICTION FROM EFFECTIVE DATE:
X Indefinite (with periodic review) Review in 6 months QO Other:

These restrictions are appealable using the Administrative Remedy Program, 28 C.F.R. § 542

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GENERAL CORRESPONDENCE: Fursuant fo 28 C.F.R. § 540, Subparts A, B and F

QO No restriction to general correspondence
O You are prohibited from ALL general correspondence
© You are prohibited from corresponding with the following individuals: . .
You are permitted to correspond with the following individuals: Immediate Family Members only (per the PS!)
O You are permitted to correspond in the English lanquage only

SPECIAL/ILEGAL MAIL: Pursuant to 28 C.F.R. § 540, Subparts A & B

X No restriction to special/legal mail

QO You are permitted to correspond with the courts, but these attorneys only:
O You are prohibited from corresponding with the following individuals:

O Other: Restricted Special Mail status, pursuant to 28 C.F.R. § 540.18(c)(2)(i)
OO Rationale:

TELEPHONE (Court Ordered or SAM only): Pursuant to 28 C.F.R. § 540, Subpart !

C No restriction to telephone calls

OC You are not permitted telephone calls to: .

a ee are permitted telephone calls only to: Immediate Family Members (per the PSI)
er:

VISITING/MEDIA (Court Ordered or SAM only): Pursuant to 2ti C.F.R. § 540, Subparts D&E
0 No restriction to social visiting privileges
O You are prohibited from media interviews

QO You are prohibited from all social visits Co . .
X You are permitted to visit with the following individuals only: Immediate Family Members (per the PS!)
OD You are prohibited from visiting with the following individuals:

OTHER JUDICIAL ORDER OR SPECIAL ADMINISTRATIVE MEASURE RESTRICTIONS:

es Zeno Printed Name/Signature Legal Services Review: Printed ee
Harvey, Umit Manager \ C. Synsvoll, Supervisory Attorney “

 

     

 

 

 

 

 

 

/
Associate Warden (P) Review: poptespprgisianature
E. Jackson, Associate Warden //] ; “Ti *
Warden: Printed Name/Signatufe’ / [ ~ Effective Date: 12/1/2022
A. Ciolli, Complex Warden Jif °° *”
Inmate Printed Name/signature” Register Number Date |) + I4-A7
Fort, Jeff ZF eit 92298-024

 

 

 

Printed Name/Signature of Staff Witness

 

You may seek a formal review of this decisjon through the Federal Bureau of Prisons' Administrative Remedy Procedure. The procedure

requires that you first address your complaint to the Warden._If dissatisfied with that Fespenes. you may. appeal your complaint to the
eqionat Director, Federal Bureau of Prisons, North Central Regional Office, Gateway Complex, Tower II, &th Floor, 400 State Avenue,
afisas City, Kansas. Spe 01 gage. If. dissatisfied a the Re jerral Directoi"s response, your may appeal to the Director, National Inmate

Appeals, in the General Counsel in Washington

Distribution: Original - Central File; cc - Inmate, Mail Room, Legal Services
   

 

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Case; Viors 572);Docuiment #: 490 Fi

Name: Ay i jis eM AB 870) ©
Reg No: 255) = ¢

U.S. Penitentiary MAX
P.O. Box 8500
Florence, Co, 81226-8500

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00572 Document #: 690 Filed: 01/31/23 Page 20 of 21 PagelD #:9585

FEDERAL PRISON CAMP

P.O. BOK 5000

FLORENCE, COLORADO 81226
JAN 24 2023

DATE:

 

“SPECIAL/LEGAL MAIL
The enclosed letter wes processed through special malting
procedures for forwarding to you. The ietter hee neither
ban opened nor inspected. If the writer ralzes & question
ou problem over which this facility has juriediction, you may
ve. to return the metertal for further Information or clarification.
If the writer encloses corraspondsnce for forwarding to another
addressee, please return the enclosed to the above address.

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VSN YUFATUOd

  
 

 

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